 

 

Case 3:96-CV-00115-SI\/|R Document 6 Filed 08/05/96 Page 1 of 2

IN THE UNITED STATES DISTRICT COURT _
EASTERN DISTRICT OF ARKANSAS " U':l

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EAsn_-§.;,D ,", mich CouRT
MT

Aua 05 99;`"3"8

JONESBORO DIVISION

 

.MME
UNITED STATES OF AMERICA ) .
Plaintiff, )
_ )
) _
v. . ) NO. J-C-96-ll5
).
§
CHARLES HARRIS )
Defendant. )

DEFAULT JUDGMENT

 

Plaintiff having requested entry of default judgment for a
sum certain under Rule 55(b)(1) of the Federal Rules of Civil
Frocedure; and upon affidavit that the defendant is not an infant
or incompetent person and is not in the military service of the
United States, and defendant being in default by reason of
complaint, and summons having been served upon said defendant on
April 30, 1996, and no answer or other responsive pleading having
been filed, l l

JUDGEMENT is entered herein in favor of plaintiff, United
States of America, and against defendant, Charles Harris, in the
sum of $2,120.03 principal; $1,442.45 interest as of August 2,

1996; plus a 10% surcharge of $356.25; for a total judgment

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amount of $3,918.73, with interest at the rate of 5{8l% per annum:
. from the date of judgment until fully paid, and all other cost,

if any.
Dated this 54 day of I%sz , 1996.

JAMES W; MCCORMACK

By:
D UTY CLERK

This document entered on docket sheet in compliance with Rnlo 58
and/or 7943) FRcP on 3-5»9@ by

